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UNITED STATES DISTRICT COURT
N()RTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

HARVEST BIBLE CHAPEL,

Plaintiff,
Case No. lS-cV-6819
v.

EVANGELICAL CHRISTIAN CREDIT UNION

\_/\_/\./\./V\_/`_/ \./`/

Defendant.

NOTICE OF REMOVAL

Defendant, EVANGELICAL CHRISTIAN CREDIT UNION (“ECCU”), pursuant to 28
U.S.C. §§ 1441, et Seq., hereby removes this action filed as Harvest Bible Chapel v. Evangelical
Chrl`stian Credit Union, Cz'rcuit Court of Kane Counly, Illl'noz`s, Law Divz'sion, Civil Case No. 18
L 000468 from the Circuit Court of the Sixteenth Judicial Circuit, Kane County, Illinois, in
Which the action is now pending, to the United States District Court for the Northern District of
Illinois, Eastern Division, and as grounds for said removal states as follows:

l. On August 31, 2018, Harvest Bible Chapel (“Harvest Bible”) filed its Complaint
in the Circuit Court of the Sixteenth Judicial Circuit, Kane County, Illinois alleging claims for
Intentional lnterference With Prospective Economic Advantage (Count l), Promissory Estoppel
(Count ll), Negligent Supervision (Count III), Deceptive Trade Practices (Count IV), and
Common LaW Fraud (Count V).

2. Harvest Bible Chapel, is an Illinois not-for-proi`rt corporation With its principal
place of business in Illinois. ECCU is a California not-for-proiit corporation With its principal

place of business in California.

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3. Harvest Bible is completely diverse from ECCU and this Court has original
jurisdiction over this action pursuant to 28 U.S.C. § 1332 and one Which may be removed to this
Court pursuant to 28 U.S.C. §§ 1441 and 1446 because of diversity jurisdiction

4. Thirty days have not elapsed since the Orange County Sheriff’s office served
ECCU With the Summons and Complaint on September 12, 2018.

5 . ECCU has attached to this Notice all process, pleadings and orders served upon
ECCU in this action to date. True and accurate copies of all process, pleadings and orders are
attached hereto as Exhibit 1. No other proceedings have occurred in this action.

6. The amount in controversy exceeds or is likely to exceed $75,000.00 based on
Harvest Bible’s prayer for relief set forth in the attached Complaint and subsequent Written
demands.

7. A notification of removal Will be filed With the Circuit Court of the SiXteenth
Judicial Circuit, Kane County, Illinois upon receipt from the U.S. District Court for District of
lllinois of a date-stamped copy of this Notice of Removal\

Respectfully submitted,

/s/ Timoth R. Herman

Gary E. Green (ggreen@clarkhill.com)
ARDC No. 6199484

Timothy R. Herman (therman@clarl<hill.com)
ARDC No. 6301721

CLARK HILL PLC

130 E. Randolph Street, Suite 3900
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October 10, 2018

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CERTIFICATE OF SERVICE
Undersigned counsel hereby certifies that on this 10th day of October, 2018, a copy of
the foregoing Notice of Removal Was served via the Court’s Electronic Case Filing System and
First Class mail, postage prepaid, upon:

Christopher S. Nudo

1000 N. Randall Road

Elgin, lL 60123
cnudo@harvestbiblechapel.org

/s/Tirnothy R. Herman

Gary E. Green (ggreen@clarl<hill.com)
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